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Attorneys for Defendants, Jetson Electric Bikes, LLC
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF WYOMING

STEPHANIE WADSWORTH                                    )
Individually and as Parent and Legal Guardian          )
of W.W., K.W., G.W., and L.W., minor children          )
and MATTHEW WADSWORTH                                  )
Plaintiff,                                             )    Case No. 2:23-cv-00118-NDF
                                                       )
v.                                                     )    DEFENDANTS EXPERT
                                                       )    WITNESS DISCLOSURES
WALMART INC. and                                       )
JETSON ELECTRIC BIKES, LLC                             )
                                                       )
Defendants.                                            )    JURY TRIAL DEMANDED

                   DEFENDANTS’ EXPERT WITNESS DISCLOSURES


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       Pursuant to the Court’s Order Setting Case for Jury Trial and in accordance with Fed. R. Civ.

P. 26(a)(2) and U.S.D.C.L.R. 26.1(3), Defendants, Jetson Electric Bikes, LLC and Walmart Inc.

(hereinafter “Defendants”), by and through the undersigned counsel, hereby file their expert witness

disclosures. Pursuant to the Court’s Order, Defendants designate their expert witnesses, including a

comprehensive statement of expert’s opinions and the basis for the opinions in Exhibits A through

Q.

       Defendants reserve the right to supplement, update, or make substitutions to this list as the

need may arise or as additional witnesses are identified in ongoing investigation and discovery.

     1. JOSEPH R. FILAS, CFI, CFEI, CFI(V)
        Rimkus Consulting Group, Inc
        8100 S. Akron Street, Suite 320
        Centennial, CO 80112

       Mr. Filas, CFI, CFEI, CFI(V), will offer expert testimony in the area of origin and cause

investigations. His opinions will be consistent with his written report, which is attached hereto as

“Exhibit A”, his file materials, and deposition testimony if taken. The basis and substance of his

opinions are set forth in his report and includes his review of the documents produced in this case,

his review of discovery, his investigation, and his professional training, education, knowledge,

experience, and skill. Defendants may utilize at trial as exhibits any of the above-referenced

materials and/or photographs as a summary or in support of his opinions.

       Mr. Filas’ curriculum vitae, including his prior testimony and publications, if any, is attached

hereto as “Exhibit B”. Mr. Filas’ fee schedule is attached hereto as “Exhibit C”.

     2. GREGORY E. GORBETT, Ph.D., IAAI-CFI, CFEI, CFPS
        FIRE Dynamics Analysis
        330 Eastern Bypass, Suite 1
        PMB #231
        Richmond, KY 40475


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       Mr. Gorbett, Ph.D., IAAI-CFI, CFEI, CFPS, will offer expert testimony in the area of fire

modeling and fire dynamics engineering and investigations. His opinions will be consistent with his

written report, which is attached hereto as “Exhibit D”, his file materials, and deposition testimony if

taken. The basis and substance of his opinions are set forth in his report and includes his review of

the documents produced in this case, his review of discovery, his investigation, and his professional

training, education, knowledge, experience, and skill. Defendants may utilize at trial as exhibits any

of the above-referenced materials and/or photographs as a summary or in support of his opinions.

       Mr. Gorbett’s curriculum vitae, including his prior testimony and publications, if any, is

attached hereto as “Exhibit E”. Mr. Gorbett’s fee schedule is attached hereto as “Exhibit F”.

   3. SAMUEL SUDLER, III, PE, IntPE, DFE, F.NSPE, CFEI, CVFI
      SEA Limited
      795 Cromwell Park Drive, Suite N
      Glen Burnie, MD 21061

       Mr. Sudler, PE, IntPE, DFE, F.NSPE, CFEI, CVFI, will offer expert testimony in the area of

electrical engineering and failure investigations. His opinions will be consistent with his written

report, which is attached hereto as “Exhibit G”, his file materials, and deposition testimony if taken.

The basis and substance of his opinions are set forth in his report and includes his review of the

documents produced in this case, his review of discovery, his investigation, and his professional

training, education, knowledge, experience, and skill. Defendants may utilize at trial as exhibits any

of the above-referenced materials and/or photographs as a summary or in support of his opinions.

       Mr. Sudler’s curriculum vitae, including his prior testimony and publications, if any, is

attached hereto as “Exhibit H”. Mr. Sudler’s fee schedule is attached hereto as “Exhibit I”.

   4. BRIAN STRANDJORD, PE, CFI, CFEI
      AEI Corporation
      8197 West Brandon Drive,
      Littleton, CO 80125

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       Mr. Strandjord, PE CFI, CFEI, will offer expert testimony in the area of mechanical and

electrical engineering and failure investigations. His opinions will be consistent with his written

report, which is attached hereto as “Exhibit J”, his file materials, and deposition testimony if taken.

The basis and substance of his opinions are set forth in his report and includes his review of the

documents produced in this case, his review of discovery, his investigation, and his professional

training, education, knowledge, experience, and skill. Defendants may utilize at trial as exhibits any

of the above-referenced materials and/or photographs as a summary or in support of his opinions.

       Mr. Strandjord’s curriculum vitae, including his prior testimony and publications, if any, is

attached hereto as “Exhibit K”. Mr. Strandjord’s fee schedule is attached hereto as “Exhibit L”.

   5. CLOIE JOHNSON, M.Ed., A.B.V.E.-D., C.C.M.
      OSC Vocational Systems, Inc.
      10132 NE 185th Street
      Bothell, WA 98011

       Ms. Johnson, M.Ed., A.B.V.E.-D., C.C.M, will offer expert testimony in the area of

vocational rehabilitation and life care planning. Her opinions will be consistent with her written

report, which is attached hereto as “Exhibit M”, her file materials, and deposition testimony if taken.

The basis and substance of her opinions are set forth in her report and includes her review of the

documents produced in this case, her review of discovery, her investigation, and her professional

training, education, knowledge, experience, and skill. Defendants may utilize at trial as exhibits any

of the above-referenced materials and/or photographs as a summary or in support of her opinions.

       Ms. Johnson’s curriculum vitae, including her prior testimony and publications, if any, is

attached hereto as “Exhibit N”. Ms. Johnson’s fee schedule is attached hereto as “Exhibit O”.

   6. CHARITY ROWSEY, CPA, MAFF, CVA
      Rowsey Financial Forensics, LLC
      P.O. Box 59604

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        Helena, MT 59604

        Ms. Rowsey, CPA, MAFF, CVA, is a certified public accountant and forensic financial

investigator. Her opinions will be consistent with her written report, which is attached hereto as

“Exhibit P”, her file materials, and deposition testimony if taken. The basis and substance of her

opinions are set forth in her report and includes her review of the documents produced in this case,

her review of discovery, her investigation, and her professional training, education, knowledge,

experience, and skill. Defendants may utilize at trial as exhibits any of the above-referenced

materials and/or photographs as a summary or in support of her opinions.

        Ms. Rowsey’s curriculum vitae, including her prior testimony and publications, if any, is

attached hereto as “Exhibit Q”. Ms. Rowsey charged $385.00 per hour for her services.

    7. Any consultant, investigator, or other person retained by any other party for purposes relating

to this lawsuit.

    8. Any health care providers or health professionals who rendered care to Plaintiffs relating to

the underlying incident.

    9. These Defendants reserve the right to supplement this disclosure statement with additional

witnesses as discovery / disclosures proceed.

    10. These Defendants reserve the right to elicit opinion testimony from non-retained and retained

experts identified by any of the other parties to this action, using, if necessary, any exhibits identified

by the other parties.

                                                 McCOY LEAVITT LASKEY, LLC

Dated: September 13, 2024                        By: /s/ Eugene M. LaFlamme
                                                     Eugene M. LaFlamme Pro Hac Vice
                                                     Jared B. Giroux        Pro Hac Vice
                                                     Jillian L. Lukens      Pro Hac Vice
                                                     Riverwood Corporate Center III

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                             and Walmart Inc.




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of this document was served on the 13th day of
September, 2024, upon all parties in the above cause by serving the attorneys of record at their
respective addresses disclosed on the pleadings. Service was made by:

 U.S. Mail         Hand-Delivery          Email           Facsimile         Other – EDMS

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                                                   /s/ Angela J. Hinrichs
                                             Angela J. Hinrichs, Legal Assistant




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